          Case 2:23-cv-07952-RGK-MAR Document 17 Filed 10/05/23 Page 1 of 3 Page ID #:87
Name and address:
                THE VORA LAW FIRM, P.C.
             Lou Egerton-Wiley (SBN 323482)
                     lou@voralaw.com
           201 Santa Monica Boulevard, Suite 300
               Santa Monica, California 90401

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMBER
JENI PEARSONS and MICHAEL STORC
                                                         Plaintiff(s),                        2:23-cv-07952-RGK-MAR

                 v.
                                                                             APPLICATION OF NON-RESIDENT ATTORNEY
UNITED STATES OF AMERICA, et al.                                                   TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                       PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Gay, Joseph R.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney □
Institute for Justice
Firm/Agency Name
901 N. Glebe Road, Suite 900                                             (703) 682-9320                      (703) 682-9321
                                                                         Telephone Number                    Fax Number
Street Address
Arlington, VA 22203                                                                                 jgay@ij.org
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
JENI PEARSONS and MICHAEL STORC                                          □
                                                                         ✖ Plaintiff(s) □ Defendant(s) □ Other:

                                                                         □ Plaintiff(s) □ Defendant(s) □ Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name of Court                          Date of Admission           Active Member in Good Standing? (if not, please explain)
*SEE SECTION IV




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 List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Title o(Action                             Date o(Application        Granted I Denied?
  2:2 l-cv-04405-RGK             Paul Snitko, et al. v. United States of America, et al.         12/09/2021               Granted 7/18/2022
  2:23-cv-07970-RGK             Donald Leo Mellein v. United States of America, et al.           9/29/23 & 10/3/23           Pending




 If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration ( or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice oflaw, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated   10/5/2023                                      Joseph R. Gay
                                                                      App1 Q, (plea,e type o, pdnt)


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SECTION III - DESIGNATION OF LOCAL COUNSEL
Egerton-Wiley, Lou
Designee's Name (Last Name, First Name & Middle Initial)
The Vora Law Firm, P.C.
Firm/Agency Name
201 Santa Monica Blvd.                                             (424) 258-5190
Suite 300                                                          Telephone Number                         Fax Number
Street Address                                                    lou@voralaw.com
Santa Monica, CA 90401                                            Email Address
City, �tate, Zip Code                                             323482
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty ofperjury that I maintain an office in the
Central District ofCalifornia for the practice oflaw, in which I am physically present on a regular basis to conduct business.
                                                                  Lou Egerton-Wiley
                                                                  Designee's Name (please type or print)


                                                                  Designee's signatur
SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Joseph R. Gay is admitted to following Federal Courts/State Bars:

  U.S. Supreme Court, October 13 2015, Active Member in Good Standing
  U.S. Court of Appeals - Federal Circuit, June 7, 2013, Active Member in Good Standing
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  U.S. Court of Appeals - 9th Circuit, October 12, 2022, Active Member in Good Standing
  U.S. Court of Appeals - 11th Circuit, July 27, 2022, Active Member in Good Standing


  District of Columbia Bar, November 16, 2012, Bar No. 1011079, Active Mernbe.r in Good Standing •
  New York Bar, Feburary 18, 2010, Third Judicial Dept. Registration No. 4800462, Active Member in Good Standing
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